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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in compliance with D.N.J. LBR 9004-1(b)

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 In re:                                                                      Chapter 11

 LTL MANAGEMENT LLC,                                                         Case No. 23-12825 (MBK)

                                       Debtor. 1                             Re: Docket No. 240


                OBJECTION OF ARNOLD & ITKIN LLP TO
 DEBTOR’S MOTION FOR AN ORDER (I) SCHEDULING HEARING ON APPROVAL
 OF DISCLOSURE STATEMENT; (II) ESTABLISHING DISCLOSURE STATEMENT
       OBJECTION DEADLINE; AND (III) GRANTING RELATED RELIEF

            Arnold & Itkin LLP (“Arnold & Itkin”), on behalf of certain talc personal injury

 claimants represented by Arnold & Itkin, hereby files this objection to the Debtor’s Motion for

 an Order (I) Scheduling Hearing on Approval of Disclosure Statement; (II) Establishing

 Disclosure Statement Objection Deadline; and (III) Granting Related Relief [Docket No. 240]

 (the “Motion”).2



 1 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
 Street, New Brunswick, New Jersey 08933.

 2   Capitalized terms not otherwise defined herein shall have their meaning as set forth in the Motion.


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                                                 Objection

         1.       With seven motions to dismiss pending from different constituencies3 and serious

 questions as to the legitimacy of this chapter 11 case outstanding, the Motion is premature and

 should be denied on its entirety on that basis alone. It is premature (and potentially quite

 wasteful) to go ahead with what are likely to be hotly-contested proceedings regarding the

 approval of a disclosure statement and of plan solicitation and vote tabulation procedures – or

 any other plan-related proceeding – until the threshold issue of whether the Debtor even belongs

 in chapter 11 is resolved. At a minimum, such plan-related proceedings should not go forward

 until after the Court rules on the pending motions to dismiss following the expected June hearing

 on those motions.

         2.       Even if not premature, the Motion should be denied on the merits. The Motion

 seeks to reduce the time to object to the approval of a disclosure statement (the “Disclosure

 Statement”) for the Debtor’s yet-to-be-filed plan (the “Plan”)—which of itself ordinarily requires

 a notice period of at least 28 days. But that is not all. The Motion also seeks to require that

 objections to the approval of unspecified procedures for the solicitation and tabulation of votes

 on the Plan (the “Solicitation and Vote Tabulation Procedures”), which the Debtor mislabels as

 mere “Solicitation Procedures” (Motion at 2) – also be filed within the same notice period. Those

 procedures may determine the Plan’s fate; will require careful scrutiny; and are likely to

 engender substantial controversy: The TCC has already raised serious and substantial concerns in




 3Docket Nos. 286 (TCC); 335 (Ad Hoc Group of Mesothelioma Claimants); 346 (Paul Crouch, individually and as
 executor as prosequendum of the Estate of Cynthia Lorraine Crouch); 350 (Ad Hoc Committee of States Holding
 Consumer Protection Claims); 352 (joinder of various talc mesothelioma claimants); 358 (Maune Raichle Hartley
 French & Mudd, LLC); 379 (U.S. Trustee); and 384 (Arnold & Itkin).

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 its Motion to Dismiss regarding the thousands of votes the Debtor claims to have for its Plan.4

 Meanwhile, the Debtor does not propose to shorten its time to reply to objections to the adequacy

 of the Disclosure Statement or to the Solicitation and Vote Tabulation Procedures.

         3.       In a mass tort case as large, complex and consequential as this one, there would

 be no “cause” to reduce the 28-day notice period for objecting to the approval of a disclosure

 statement prescribed by Bankruptcy Rule 2002(b) to 21 days, even if approval of the disclosure

 statement was the only matter at issue. There certainly is no cause to do so when objections to

 the approval of very consequential, and likely controversial, procedures regarding vote tabulation

 must also be filed within the same time period. There is “cause” to alter the objection period—

 not to reduce it, but to enlarge it to 45 days.

         4.       This is a complex mass tort chapter 11 case affecting tens of thousands of sick

 and, in many cases, dying personal injury claimants, in which the Debtor seeks to invoke the

 unique and extraordinary provisions of section 524(g) of the Bankruptcy Code (the “Code”).

 This is not the “run-of-the mill” chapter 11 case that the drafters of Rule 2002(b) probably had in

 mind when they chose the 28-day notice period for objections to the adequacy of a proposed

 disclosure statement. The 28-day notice period under Rule 2002(b) should be enlarged, not

 reduced, in light of the highly consequential, non-run-of-the- mill nature of this chapter 11 case,

 the complex issues it raises, and the need to address, at the same time, important plan solicitation

 and vote-counting issues that are unique to a large mass tort chapter 11 case.




 4  See Motion of the Official Committee of Talc Claimants to Dismiss the Second Bankruptcy Petition of LTL
 Management LLC (Docket 286-1) at 18-21. See also id. at 16 (“LTL’s Attempt to Create the Illusion of Support for
 its Second Filing.”)

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 A.      The Motion should be denied at this time, and the dismissal motions should be
         heard first, before procedures regarding a disclosure statement and related matters
         are established.

         5.       The Third Circuit mandated that this Court dismiss LTL I, which it did. But,

 through some corporate sorcery, the Debtor and J&J tried to conjure up “financial distress” on

 the Debtor’s part for a second run at chapter 11. The Debtor then filed its second chapter 11 case

 in less time than it takes to watch a bad movie sequel. The Debtor now claims that, in

 chameleon-like fashion, it succeeded in placing itself in “financial distress” and now qualifies for

 a new chapter 11 case.

         6.       Serious questions regarding both the legitimacy of this unprecedented subterfuge

 and whether it even succeeded in creating financial distress, among others, have prompted

 multiple parties to file motions to dismiss this chapter 11 case on good faith grounds. As the

 Court itself acknowledged, “[o]nce the Court hears from the movants with regard to the

 anticipated motion to dismiss, undoubtedly the debtor has an uphill battle.” 4/20/23 Hrg. Tr. at

 9, ln. 8-10 (emphasis added). The Court has now heard from the movants with regard to their

 motions to dismiss, and the Debtor faces a steep and insurmountable uphill climb.

         7.       The dismissal motions present threshold and case dispositive issues the Court

 should address first. Given the Third Circuit’s clear mandate and the fact that dismissal of LTL I

 occurred little more than a month ago, the Court should place the dismissal motions in LTL II

 front and center before undertaking any proceedings related to a disclosure statement, solicitation

 and vote tabulation procedures, or a plan. Such proceedings are likely to be highly contentious

 and involve the substantial expenditure of time and resources by the parties and the Court—all of

 which will be wasted if this case shares the same fate as LTL I.




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         8.       LTL I resulted in a substantial expenditure of time, effort and, expense—all of

 which proved to be wasted after the Third Circuit mandated dismissal on the basis that the

 Debtor should not have been in chapter 11 in the first place. Given the “uphill battle” the Debtor

 faces, history is likely to repeat itself with respect to the dismissal of LTL II. If anything, the

 circumstances here bespeak even greater bad faith than those that led the Third Circuit to

 mandate dismissal in LTL I. But the Court should avoid a potential repeat of the waste of time

 and resources that LTL I engendered by, at a minimum, deferring proceedings on any disclosure

 statement, plan, and related matters, until at least the Court itself has resolved the dismissal

 motions. An expedited disclosure statement and plan process will only launch a litigation battle

 that distracts from the key question in LTL II: whether the Debtor is entitled to be in chapter 11

 in the first place. Unlike nearly every other chapter 11 case that proceeds towards plan

 confirmation, serious questions about the very legitimacy of this second chapter 11 filing hang

 like a dark cloud over all proceedings in this case.

 B.      If the Court does consider the Motion on the merits, the Court should enlarge, not
         reduce, the objection period.

         9.       Alternatively, if the Court elects to proceed with establishing a schedule for

 objections and a hearing respecting the approval of the Disclosure Statement and the Solicitation

 and Vote Tabulation Procedures, procedural fairness dictates that the Court enlarge, not reduce,

 the applicable objection period.

         10.      Bankruptcy Rule 2002(b) requires “not less than 28 days’ notice by mail of the

 time fixed (1) for filing objections and the hearing to consider approval of a disclosure

 statement. . . .” Fed.R. Bankr. P. 2002(b). Taken together, Bankruptcy Rule 9006(b)

 (enlargement of time) and Bankruptcy Rule 9006(c) (reduction of time) empower the court “for

 cause shown” to enlarge or reduce this notice period.

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         11.      The Debtor has shown no “cause” for reducing the period for objecting to its

 Disclosure Statement here, especially where the Debtor seeks, not only the approval of a

 disclosure statement, but also the approval of as yet unspecified procedures for the solicitation

 and tabulation of votes on the Plan – highly consequential procedures that themselves raise

 complex issues unique to a mass tort chapter 11 case involving tens of thousands of individual

 personal injury claimants. The Debtor’s empty platitudes about “prompt resolution” and “best

 interest” (Motion ¶13) are insufficient to establish “cause” for reducing the time to object to a

 matter as important as the adequacy of a proposed disclosure statement in a case as large,

 complex, and consequential as this one—especially where, as here, the Debtor seeks to require

 that objections to plan solicitation procedures and vote tabulation procedures be filed within the

 same notice and objection period. To the contrary, “cause” exists for enlarging the 28-day

 period specified in Bankruptcy Rule 2002(b).

         12.      The 28-day notice period for objecting to the approval of a disclosure statement

 was likely selected with the “typical” chapter 11 case in mind – not with a mass tort chapter 11

 case involving tens of thousands of individual claimants and the unique provisions and

 requirements of section 524(g) of the Code in mind. As but one example of the panoply of

 complex disclosure issues that will likely arise in connection with the adequacy of the Disclosure

 Statement, the $8.9 billion trust funding number touted by the Debtor and certain plaintiffs’

 lawyers (and any proposed allocation of that fund among different categories of talc-related

 claims) appears to be untethered to any reasoned, professional estimate either as to the likely

 number of current and unknown future talc claimants in each category, or the value of those

 claims, that was available to the attorneys who negotiated this number and any allocation at the

 time. Accordingly, assessing the information contained in the proposed Disclosure Statement to

 evaluate potential objections to the adequacy of disclosure on this subject alone will require
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 parties in interest to review and analyze carefully the disclosures regarding the derivation of the

 $8.9 billion figure and of any proposed allocation among various categories of talc claims, the

 estimated number of talc-related claims in each category, the basis for any metrics or valuations

 that will be used to determine plan trust distributions to individuals in each category of talc

 claimants, the estimated recoveries of individual present and future talc claimants in each

 category under the Plan, and the basis for such estimates. Parties in interest must then consider

 and prepare objections to the adequacy of such disclosures.

         13.      Add to this that the Debtor seeks to have the same 21-day objection period apply

 to objections to the approval of not-yet proposed solicitation and vote tabulation procedures

 which are of consequence and themselves raise unique and complex issues in a mass tort case

 involving tens of thousands of mass tort claimants. Arnold & Itkin respectfully submits that in

 light of these considerations, the Court should enlarge the objection period to 45 days, in order to

 give parties in interest a reasonable and appropriate period and opportunity to address the

 atypical issues raised not only by the approval of any disclosure statement filed in a case such as

 this one but also by the approval of solicitation and vote tabulation procedures.

                                           Reservation of Rights

         14.      Arnold & Itkin reserves all of its rights, claims, defenses, and remedies, with

 respect to the Motion, the Debtor’s supposed Plan and Disclosure Statement, plan solicitation

 and vote tabulation procedures, and the validity and legitimacy of this chapter 11 case.




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                                               Conclusion

         WHEREFORE, for the reasons set forth herein, Arnold & Itkin respectfully requests that

 the Court: (i) deny the Motion in its entirety; (ii) if the Court does not deny the Motion, enlarge

 the applicable objection period to 45 days; and (iii) grant such other and further relief as the

 Court deems appropriate.

 Dated: May 5, 2023                           PACHULSKI STANG ZIEHL & JONES LLP

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